           Case 1:21-cr-00038-CRC Document 91 Filed 11/28/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                 :
                                                         :
                                                         :
                v.                                       :       Case No. 21-CR-38 (CRC)
                                                         :
RICHARD BARNETT,                                         :
                                                         :
                     Defendant.                          :

                          JOINT NOTICE OF TRIAL AVAILABILITY

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the Defendant, by and through his attorneys (collectively, “the

parties”), respectfully submit this joint notice in response to the Court’s November 23, 2022

Minute Order.

        The parties have conferred to find a mutually available date to reschedule the pending trial.

The parties have identified the week of January 9, 2023 as the preferred date in which they are

mutually available, as well as the week of January 16, 2023 as an alternative.

        In an attempt to minimize the burden on the Court’s calendar and the jury, the parties have

discussed the possibility of stipulating to certain undisputed facts in an effort to streamline the

trial. The parties hope to arrive at such stipulations in advance of the trial in the interest of judicial

economy.

        The parties agree that the remaining pretrial deadlines should accordingly be reset as

follows:

            •    The parties shall exchange exhibit lists and identify all expert witnesses no later

                 than 21 days before trial;

            •    The parties shall file objections to the admissibility of any exhibits within 3
  Case 1:21-cr-00038-CRC Document 91 Filed 11/28/22 Page 2 of 2




       business days after receipt of exhibit list;

   •   The parties shall jointly submit a short narrative description of the case, to be read

       to the prospective jurors, and proposed voir dire questions no later than 21 days

       before trial;

   •   The parties shall file proposed jury instructions and a proposed verdict form—

       jointly to the extent possible – no later than 14 days before trial; and

   •   The government shall provide its list of witnesses no later than 3 business days

       before trial.

                                               Respectfully submitted,

FOR THE DEFENDANT                                     FOR THE UNITED STATES

/s/ Joseph D. McBride                                 /s/ Alison B. Prout
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